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                             IN THE UNITED STATES COURT OF APPEALS
                                     FOR THE FOURTH CIRCUIT


         UNITED STATES OF AMERICA,                )
                                                  )
                    Appellee,                     )
                                                  )
               v.                                 )       No. 14-4451
                                                  )
         ALI AL-TIMIMI,                           )
                                                  )
                    Defendant-Appellant.          )

                           Government’s Unopposed Motion for an
                          Extension of Time to File Its Response Brief

              The defendant has filed his opening brief in this matter and the government’s

        response brief is currently due on June 11, 2025. The government respectfully

        moves this Court for a 21-day extension, until July 2, 2025, to file its brief. The

        government has consulted with defense counsel, who consent to this request.

              The government is proceeding diligently in preparing its response but believes

        that an extension is warranted. The defendant’s current counsel obtained a total of

        149 days of extensions of time to file the opening brief, and the government has

        obtained one prior extension of 21 days to file its response. The opening brief raises

        four issues, including multiple sub-issues, and the joint appendix comprises over

        3,100 pages.    The proceedings in this case date back more than ten years.

        Accordingly, the undersigned requires additional time to review the record, research

        the legal issues, and revise the government’s response brief.
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              In recent weeks, the undersigned devoted substantial time to reviewing the

        government’s response briefs in United States v. Scott, No. 25-4048 (filed on June

        5, 2025), and United States v. Lawrence, No. 24-4596 (filed on June 6, 2025), and

        is currently reviewing the government’s response briefs in United States v. Dadzie,

        No. 24-4620 (due on June 11, 2025), and United States v. Trapp, No. 25-4009 (due

        on June 17, 2025). The undersigned is also currently preparing the government’s

        response briefs in United States v. Arevalo Arias et al., No. 24-4308 (L) (due on June

        17, 2025), and in United States v. Castellano, No. 25-4012 (due on June 17, 2025).

              Given this recent activity, as well as other obligations, an extension of the

        filing deadline would assist the government in preparing its response in this matter.

        Therefore, the government requests a 21-day extension, until July 2, 2025, to file its

        response brief.


                                               Respectfully submitted,

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